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  8                          UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10
 11    ANASTASIYA KISIL, Mother and                Case No. 8:22-cv-01164-JVS-ADSx
       Natural Guardian of “JOHN DOE,” an
 12    Infant, Individually and on Behalf of       Class Action
       Others Similarly Situated,
 13                                                ORDER GRANTING PLAINTIFFS’
                              Plaintiff,           STIPULATION TO APPOINT
 14          v.                                    INTERIM COUNSEL PURSUANT
                                                   TO FED. R. CIV. P. 23(G) [45]
 15    ILLUMINATE EDUCATION, INC.,
       d/b/a PUPIL PATH,
 16                           Defendant.
 17
 18    LUCAS CRANOR, Individually and on Case No. 8:22-cv-1404-JVS-ADSx
       Behalf of All Others Similarly Situated,
 19                           Plaintiff,
 20          v.

 21    ILLUMINATE EDUCATION, INC.,

 22                           Defendant.

 23
       SARAH CHUNG, Individually and on Case No. 8:22-cv-01547-JWH-DFM
 24    Behalf of All Others Similarly Situated,

 25                           Plaintiff,

 26          v.

 27    ILLUMINATE EDUCATION, INC.,

 28                           Defendant.

                                                                  Case No. 8:22-cv-01164-JVS-ADSx
                  ORDER GRANTING PLAINTIFFS’ STIPULATION TO APPOINT INTERIM COUNSEL
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  1         Having considered Plaintiffs’ Stipulation to Appoint Interim Counsel
  2   Pursuant to Fed. R. Civ. P. 23(g), and being fully advised in the matter, the Court
  3   hereby GRANTS the Stipulated Request.
  4         The Court finds that Kaplan Fox & Kilsheimer LLP (“Kaplan Fox”) and
  5   Kantrowitz Goldhamer & Graifman, P.C. (“KGG”), along with Sheehan and
  6   Associates, P.C. (“Sheehan and Associates”) and Held & Hines LLP (“Held &
  7   Hines”) meet the requirements set forth by Fed. R. Civ. P. 23(g). Laurence D. King
  8   of Kaplan Fox and Melissa R. Emert of KGG are appointed co-lead interim counsel;
  9   and Spencer Sheehan of Sheehan and Associates and Phillip M. Hines of Held &
 10   Hines are appointed to the executive committee for Plaintiffs pursuant Fed. R. Civ.
 11   P. 23(g)(3).
 12         IT IS SO ORDERED.
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 14    DATED: September 07,
       2022____________               The Honorable James V. Selna
 15                                   United States District Judge
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                                             -1-              Case No. 8:22-cv-01164-JVS-ADSx
               ORDER GRANTING PLAINTIFFS’ STIPULATION TO APPOINT INTERIM COUNSEL
